                                Case 20-40208-mxm11           Doc 67 Filed 05/13/20 Entered 05/13/20 15:24:54                 Desc
                                                             Court Admitted Exhibits Page 1 of 1
BTXN 208 (rev. 07/09)
IN RE: Todd Meagher                                                   Motion to sell (43)                    Case # 20−40208−mxm11
DEBTOR
                                                                    TYPE OF HEARING

Todd Meagher                                                                 VS                          HEB Grocery Company LP
PLAINTIFF / MOVANT                                                                                       DEFENDANT / RESPONDENT


Mark Castillo                                                                                            Jason Powers
ATTORNEY                                                                                                 ATTORNEY


                                                                          EXHIBITS
Debtor's Exhibits:1−3 (See Doc 61) and 4 (See Doc 64 − not exhibit 2 to                     HEB Exhibits: 1−4 (See Doc 63)
Doc 64)




Karyn Rueter                                                               5/13/2020                                     Mark X. Mullin
                                                                           HEARING
REPORTED BY                                                                                                             JUDGE PRESIDING
                                                                           DATE
